

Matter of Alana H. (Caitlin M.) (2018 NY Slip Op 06535)





Matter of Alana H. (Caitlin M.)


2018 NY Slip Op 06535


Decided on October 3, 2018


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on October 3, 2018
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

CHERYL E. CHAMBERS, J.P.
LEONARD B. AUSTIN
SHERI S. ROMAN
ANGELA G. IANNACCI, JJ.


2017-11163
 (Docket Nos. N-06435-15, N-06436-15)

[*1]In the Matter of Alana H. (Anonymous). Dutchess County Department of Community and Family Services, respondent; Caitlin M. (Anonymous), appellant. (Proceeding No. 1)
In the Matter of Sophia H. (Anonymous). Dutchess County Department of Community and Family Services, respondent; Caitlin M. (Anonymous), appellant. (Proceeding No. 2)


Kelly M. Enderley, Poughkeepsie, NY, for appellant.
James M. Fedorchak, County Attorney, Poughkeepsie, NY (Susan L. Flynn of counsel), for respondent.
Barry H. Friedman, Poughkeepsie, NY, attorney for the children.



DECISION &amp; ORDER
In a proceeding pursuant to Family Court Act article 10, the mother appeals from an order of disposition of the Family Court, Dutchess County (Denise M. Watson, J.), entered September 8, 2017. The order, after a hearing, placed the mother under the supervision of the Dutchess County Department of Community and Family Services for a period of six months, beginning June 26, 2017.
ORDERED that the appeal is dismissed as academic, without costs or disbursements, in light of our determination on a related appeal (see Matter of Alana H., _____ AD3d _____ [Appellate Division Docket No. 2017-01725; decided herewith]).
CHAMBERS, J.P., AUSTIN, ROMAN and IANNACCI, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








